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                                  IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRJCT OF DELAWARE

   ---------------------------------------------------------------------------------------------------
   CRYSTALLEX INTERNATIONAL
   CORPORA TIO ,

                        Plaintiff,

             v.                                               Misc. No. 17-151-LPS

   BOLIV ARIAN REPUBLIC
   OF VENEZUELA,

                        Defendant.
   ------------------------------------------------------------------------------------
       SIXTH REVISED PROPOSED ORDER (A) ESTABLISHING SALE AND BIDDING
           PROCEDURES, (B) APPROVING SPECIAL MASTER'S REPORT AND
           RECOMMENDATION REGARDI G PROPOSED SALE PROCEDURES
          ORDER, (C) AFFIRMING RETENTION OF EVERCORE AS INVESTMENT
        BANKER BY SPECIAL MASTER AND (D) REGARDING RELATED MATTERS

             On January 14, 2021, the Court issued an opinion and corresponding order (D.l. 234, 235)

   (the "January Ruling") following pleadings filed           by Plaintiff Crystallex International

   Corporation ("Crystallex"), Defendant Bolivarian Republic of Venezuela (the "Republic"),

   Intervenor Petr6leos de Venezuela, S.A. ("PDVSA"), Garnishee POV Holding, Inc. ("PDVH"),

   Intervenor CITGO Petroleum Corp. ("CITGO Petroleum ," and together with the Republi c,

   PD VSA, and PDVH, the "Venezuela Parties"), non-parties Phillips Petroleum Company

   Venezuela Limited and ConocoPh illips Petrozuata B.V. (together, "ConocoPhillips," and

   collectively with Crystallex and the Venezuela Parties, the "Sale Process Parties") and the United

   States, which set out "some contours of the sale procedures that [the Court] will follow in

   conducting a sale of PD VSA's shares in PDVH," including appointment of a special master to

   "oversee the day-to-day and detailed implementation of the sales procedures." (D.J. 234 at 34).




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              Consistent with the January Ruling, on April 13 , 2021, the Court appointed Robert B.

   Pincus as a special master (the "Special Master") to assist the Court with the sale of PDVSA 's

   shares in PDVH (D.l. No. 258). On May 27, 2021, the Court entered the Order Regarding Special

   Master (D.I. No. 277) (the "May Order") directing the Special Master to, among other things,

   devise a plan (the "Proposed Sale Procedures Order") for the sale of shares of PDVH

   (the "PDVH Shares") as necessary to satisfy the outstanding judgment of Crystallex and the

   judgment of any other judgment creditor added to the sale by the Court and/or devise such other

   transaction as would satisfy such outstanding judgment(s) whi le maximizing the sale price of any

   assets to be sold (collectively, the "Sale Transaction").

             On August 9, 2021, the Special Master filed the Proposed Order (A) Establishing Sale and

   Bidding Procedures, (B) Approving Special Master 's Report and Recommendation Regarding

   Proposed Sale Procedures Order, (C) Affirming Retention of Evercore as Investment Banker by

   Special Master and (D) Regarding Related Matters (D.I. 302) (the "Initial Proposed Sale

   Procedures Order") and the Special Master's Report and Recommendation Regarding Proposed

   Sale Procedures Order (D.I. 303) (the "Report").

             On August 25, 2021, objections to the Initial Proposed Sale Procedures Order were filed

   by Crystallex (D.I. 317), the Venezuela Parties (D.l. 318), and ConocoPhillips (D.l. 319)

   (collectively, the "August 25 Obj ections") .

             On September 10, 2021 , the Special Master filed the Response of Special Master to

   Objections to Proposed Sale Procedures Order (D.J 341) (the "Reply") and the Revised Proposed

   Order (A) Establishing Sale and Bidding Procedures, (B) Approving Special Master 's Report and

   Recommendation Regarding Proposed Sale Procedures Order, (C) Affirming Retention of




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   Evercore as investment Banker by Special Master and (DJ Regarding Related Matters, attached

   as Exhibit A.1 to the Reply (the "First Revised Proposed Sale Procedures Order").

             On November 5, 2021, the Special Master filed the Second Revised Proposed Order

   (AJ Establishing Sale and Bidding Procedures, (BJ Approving Special Master's Report and

   Recommendation Regarding Proposed Sale Procedures Order,              (CJ Affirming Retention of
   Evercore as Investment Banker by Special Master and (DJ Regarding Related Matters at (D.J. 391)

   (the "Second Revised Proposed Sale Procedures Order").

             On November 8, 2021, the Court held a hearing to consider the relief contemplated by the

   Proposed Sale Procedures Order and heard oral arguments with respect thereto (the "Hearing").

             On November 24, 2021, the Special Master filed the Third Revised Proposed Order

   (AJ Establishing Sale and Bidding Procedures, (BJ Approving Special Master's Report and

   Recommendation Regarding Proposed Sale Procedures Order, (CJ Affirming Retention of

   Evercore as Investment Banker by Special Master and (DJ Regarding Related Matters at

   (D.I. 411-1) (the "Third Revised Proposed Sale Procedures Order").

             On March 2, 2022, the Court issued an Opinion [D.I. 443) (the "March 2022 Opinion")

   in which the Court, among other thin gs, (i) ruled on certain Objections (as defined herein) to the

   Proposed Sale Procedures Order and (ii) directed the Special Master to submit a revised Proposed

   Sale Procedures Order consistent with the March 2022 Opinion.

             On March 31, 2022, consistent with the March 2022 Opinion, the Special Master filed the

   Fourth Revised Proposed Order (AJ Establishing Sale and Bidding Procedures, (BJ Approving

   Special Master's Report and Recommendation Regarding Proposed Sale Procedures Order,

   (CJ Affirming Retention of Evercore as Investment Banker by Special Master and (DJ Regarding

   Related Matters at (D.I. 451-1 Ex. A) (the "Fourth Revised Proposed Sale Procedures Order").


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             On Apri l 11, 2022, objections to the Fourth Revised Proposed Sale Procedures Order were

   fi led by ConocoPhi ll ips (D.T. 455), Crystallex (D.T. 456), and the Venezuela Parties (D .I. 457),

   (collectively, the "April 11 Obj ection s"). The April 11 Objections fi led by ConocoPhillips and

   Crystallex were reso lved. (See D.I. 458).

             On Jul y 27, 2022, the Court issued a Memorandum Order [D.I. 469] (the "July 2022

   Order") in which the Court, among other things, (i) ruled on the Apri l 11 Obj ections and (ii)

   directed the Special Master to submit a revised Proposed Sale Procedures Order consistent with

   the July 2022 Order.

             On A ugust 5, 2022, consistent with the July 2022 Order, the Special Master filed the Fifth

   Revised Proposed Order (AJ Establishing Sale and Bidding Procedures, (BJ Approving Special

   Master 's Report and Recommendation Regarding Proposed Sale Procedures Order, (CJ Affirming

   Retention ofEvercore as Investment Banker by Special Master and (DJ Regarding Related Matters

   at (0.1. 472-1 Ex. A) (the "Fifth Revised Proposed Sale Procedures Order").


             On September 29, 2022, the Court issued an Oral Order [D.I . 479] (the "September 2022

   Order") in w hic h the Court, among other things, directed the Special Master to su bmit a revised

   Proposed Sale Procedure Order reflecting the passage of time since the Fifth Revised Proposed

   Sale Procedures Order.


             On October 4, 2022, consistent with the September 2022 Order, the Special Master filed

   the Sixth Revised Proposed Order (AJ Establishing Sale and Bidding Procedures, (BJ Approving

   Special Master's Report and Recommendation Regarding Proposed Sale Procedures Order,

   (CJ Affirming Retention of Evercore as Investment Banker by Special Master and (DJ Regarding

   Related Matters at (D.I. [ • ]) (the "Sixth Revised Proposed Sale Procedures Order").


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             The Court, having reviewed and considered the Initial Proposed Sale Procedures Order,

   the Reply, the First Revised Proposed Sale Procedures Order, the Second Revised Proposed Sale

   Procedures Order, the Third Revised Proposed Sale Procedures Order, the Fourth Revised

   Proposed Sale Procedures Order, the Fifth Revised Proposed Sale Procedures Order, the Sixth

   Revised Proposed Sale Procedures Order, the Report, and the proposed sale procedures

   contemplated thereby, and having reviewed the August 25 Objections, the April 11 Objections and

   all other objections filed with the Court ( collectively, with the August 25 Objections and the April

   11 Objections, the "Objections"); and the Court having held the Hearing to consider the relief

   contemplated by the Proposed Sale Procedures Order; and upon the record of the Hearing; and the

   Court having issued the March 2022 Opinion ; and the Court having issued the July 2022 Order;

   and the Court having issued the September 2022 Order; and the Court having determined that the

   legal and factual bases set forth in this Order and the Report establish just cause for the relief

   contemplated herein ; and upon all of the proceedings had before the Court in the above captioned

   case; and after due deliberation and sufficient cause appearing therefor,


                       IT IS HEREBY FOUND AND DETERMINED THAT: 1

                       A.         Jurisdiction and Venue . The Court has jurisdiction to grant the relief

   requested herein pursuant to 28 U.S.C. § l 605(a)(6) . Venue is proper before the Court pursuant

   to 28 U.S.C. § 1963 .

                       B.         Statutory and Legal Predicates . The statutory and legal predicates for the

   relief granted herein include (a) Rule 69(a) of the Federal Rules of Civi l Procedure (the "Federal

   Rules"), (b) Section 324 of Title 8 of the Delaware Code (the "Delaware General Corporation


   1
     The findings and conclusions set forth herein constitute the Court's findings of fact and conclusions of law. To the
   extent any of the following findings of fact constitute conclusions of law, they are adopted as such. To the extent any
   of the fo llowing conclusions of law constitute findings of fact, they are adopted as such.

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   Law"), (c) Rule 53 of the Federal Rules ("Rule 53"), (d) the Court's general equitable powers to

   enforce its orders and judgments (See Chambers v. NASCO, Inc. , 501 U.S. 32, 43 (1991) (quoting

   Link v. Wabash R. Co., 370 U.S . 626, 630- 631 (1962)) and (e) the All Writs Act (See United States

   v. New York Tel. Co., 434 U.S. 159, 172 ( 1977) ("This Court has repeatedly recognized the power

   of a federal court to issue such commands under the All Writs Act as may be necessary or

   appropriate to effectuate and prevent the frustration of orders it has previously issued in its exercise

   of jurisdiction otherwise obtained.").

                        C.         Sale Procedures. As set out in his Report delivered in accordance with

   Rule 53 contemporaneously with this Order, the Special Master has articulated good and sufficient

   reasons for the Court to approve the procedures set forth herein (the "Sale Procedures"), including

   the bidding procedures and accompanying notices, substantially in the form attached hereto as

   Exhibit 1 (the "Bidding Procedures"). 2               For the reasons outlined in the Report, the Sale

   Procedures, including the Bidding Procedures, are (a) fair, (b) reasonable, (c) appropriate,

   (d) designed to promote a competitive and robust bidding process to generate the greatest level of

   interest in the PDVH Shares and result in the highest offer in connection with any Sale Transaction

   at least sufficient to satisfy the Attached Judgments (as defined below), and (e) reasonably

   calculated to balance the many competing interests in a dynamic and internationally sensitive set

   of circumstances. The Bidding Procedures are substantively and procedurally fair to all parties

   and potential bidders and they afford notice and a full , fair and reasonable opportunity for any

   person or entity to make a higher or otherwise better offer to purchase the PDVH Shares . The




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     Capitalized terms used but not otherwi se defined herein shall have the respecti ve meanings ascribed to such terms
   in the Bidding Procedures (as defined herein ).

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   procedures and requirements set forth in the Bidding Procedures, including those associated with

   submitting deposits and Qualified Bids, are fair, reasonable, and appropriate.

                        D.        Timeline and Marketing Process.     Beginning on the Launch Date (as

   defined below), the Special Master, directly or through the assistance of his Advisors (as defined

   below), shall market the PDVH Shares pursuant to the procedures set forth in the Bidding

   Procedures (the "Marketing Process"). The Special Master has articulated good and sufficient

   reasons for the Marketing Process and the timeline contemplated by the Bidding Procedures,

   including the procedures for modifying deadlines or postponing implementation thereof. The

   Marketing Process and the timeline for implementation of the Sale Procedures is (a) fair, open,

   comprehensive, and a public process, (b) adequate, (c) reasonable, (d) appropriate, (e) consistent

   with applicable law, (f) sufficient to promote a competitive and robust bidding and auction process

   to generate competitive interest in the PDVH Shares, (g) reasonab ly calculated to maximize value

   and result in the highest offer in connection with any Sale Transaction at least sufficient to satisfy

   the Attached Judgments, and (h) reasonably calculated to balance the many competing interests in

   a dynamic and internationally sensitive set of circumstances.

                        E.        Notice Procedures. After the Launch Date, in addition to conducting the

   Marketing Process, the Special Master shall cause a notice, substantially in the form attached

   hereto as Exhibit 2 (the "Sale Notice"), to be published (i) following the launch of the sale process,

   and (ii) prior to any Auction or designation of any Stalking Horse Bidder as the Successful Bidder,

   in The News Journal, the Delaware State News, the Wall Street Journal (national edition), the USA

   Today (national edition), and, if practicable, a regiona l or local newspaper published or circulated

   in Venezuela selected by the Special Master in consultation with the Sale Process Parties, in each

   case for two successive weeks. A copy of this Order shall be served by e-mail on counsel to the


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   Venezuela Parties. 3 If any Sale Process Party believes that further service of this order, the Sale

   Notice or any additional publication or notice is necessary or appropriate, such Sale Process Party

   shall, within IO calendar days of entry of this Order, provide the Special Master with a specific list

   of specific actions or service that the Sale Process Party believes should be undertaken, subject to

   order of the Court or with the consent of the Special Master. The foregoing notice procedures

   (the "Notice Procedures") are appropriate and reasonably calculated to provide interested parties

   and Potential Bidders with timely and proper notice of the Sale Procedures and any

   Sale Transaction.

                         F.         Sufficient Notice. The Marketing Process and Notice Procedures are

   appropriate and reasonably calculated to provide all interested parties with timely and proper

   noti ce of the Sale Procedures, the opportunity to bid pursuant to the Bidding Procedures, the

   Auction, the Sale Hearing, and any proposed Sale Transaction, and any and all objection deadlines

   related thereto , and no other or further notice shall be required for this Order and any Sale

   Transaction, except as expressly required herein. The Sale Process Parties have had an adequate

   opportunity to review and provide input on the Sale Notice and Notice Procedures.

                         G.         Public Sale. The process contemplated by the Sale Procedures, including

   the Marketing Process, Bidding Procedures, and Notice Procedures, shall constitute a "public sale

   to the highest bidder" within the meaning of Section 324 of the Delaware General

   Corporation Law.

                         H.         Designation of Stalking Horse Bid . The Special Master has articulated

   good and sufficient reasons for the Court to authorize the Special Master to seek authority from



   3
    The Court takes notice and accepts that the Venezuela Parties have voluntarily waived any requirement under the
                                                                                                               r
   Delaware General Corporation Law or otherwise regarding publication of notice in Venezuela. (See D.I. 31 8 at 24)
   The Special Master and the other Sale Process Parties are entitled to rely on this waiver.

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   this Court to designate a Stalking Horse Bidder and enter into a Stalking Horse Agreement with

   (or without) the Stalking Horse Bid Protections (as defined below), at the Special Master's sole

   discretion and in accordance with the Bidding Procedures and this Order, if he determines that it

   would be in furtherance of a value maximizing Sale Transaction.                             The Stalking Horse Bid

   Protections are (a) fair, (b) appropriate, (c) reasonably calculated to incentivize potential bidders

   to participate in a competitive bidding process, ( d) designed to encourage robust bidding by

   compensating a bidder whose definitive agreement in connection with a Sale Transaction is

   terminated for the risks and costs incurred in signing and announcing an agreement for a

   transaction that may not ultimately be co mpl eted, and (e) reasonably calculated so as to not

   unreasonably deter Qualified Bidders from submitting a Qualified Bid.

                         I.         Crystallex's Judgment. Subject to paragraphs 31 and 32 of this Order,

   Crystallex's alleged outstanding judgment is $969,999,752 .93 as of August 9, 2021 ("Crystallex's

   Judgment"). 4 The amount of Crystallex's Judgment for the purpose of any satisfaction of

   payment shall be finalized pursuant to th e procedures set forth in this Order and any further order

   of the Court.

                         J.         ConocoPhillips' Judgment. Subject to paragraphs 31 and 32 of this Order,

   ConocoPhillips ' alleged outstanding judgment against PDVSA is $1,289,365,299.91 as of August

   9, 202 1 ("ConocoPhillips' Judgment"). To th e extent that ConocoPhillips' Judgment becomes

   an Attached Judgment (as defined below), the amount of ConocoPhillips' Judgment for the

   purpose of any satisfaction of payment shall be fin alized pursuant to the procedures set forth in

   this Order and any further order of the Court.


   4
    In paragraph 50 of the Report, the Special Master identified what appears to be a c lerical error in j udgment entered
   by the C lerk for the United States Di stri ct Court for the Di strict of Columbia. The fi gure set forth here is the amount
   of Crystallex ' s Judgment if the clerical error is rectified or if the Court otherwise determines that such rectification is
   unnecessary.

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                           K.         Retention of Advisors.        The Special Master has articulated good and

   sufficient reasons and has retained, as approved by the May Order and as affinned by this Order,

   Weil, Gotshal & Manges LLP, Potter Anderson & Corroon LLP, Jenner & Block LLP, Evercore

   Group L.L.C. ("Evercore"), and any additional advisors engaged by the Special Master pursuant

   to the May Order (collectively, the "Advisors"). The tenns of the proposed Engagement Letter

   between the Special Master and Evercore, the fonn of which is annexed to this Order as Ex hibit 3

   (the "Proposed Evercore Engagement Letter"), are (a) fair, (b) reasonable, and (c) appropriate

   and are hereby approved in all respects . All obligations owed to Evercore set forth in the Proposed

   Evercore Engagement Letter, including the fees and reimbursement of reasonable expenses, are

   approved, and Evercore shall be compensated and reimbursed in accordance with the tenns of the

   Proposed Evercore Engagement Letter, in each case subject to the procedures set forth herein and

   any other applicab le orders of the Court. For avoidance of doubt, all obligations owed to Evercore

   pursuant to the Proposed Evercore Engagement Letter shall constitute and be included within the

   definition of "Transaction Expenses" (as defined below); provided that, as set forth below, any

   Sale Fee other than the Upfront Amount (each as defined in the Proposed Evercore Engagement

   Letter) shall be paid by the purchaser directly or from any proceeds from a Sale Transaction.

                           IT IS H EREBY ORDERED, ADJUDGED AND DECREED THAT :

                           I.         All Objections to the reli ef granted herein that have not been withdrawn

   with prejudice, waived, or settled, and all reservations of rights included in such objections, are

   hereby overruled and denied on the merits with prejudice.

                          2.          Following the Launch Date, a hearing to consider approval of any Sale

   Transaction resulting from implementation of the Sale Procedures shall be scheduled for

   approximately 270 calendar days after the Launch Date and noticed on the docket of the Crysta II ex


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   Case (the "Sale Hearing"), and may be adjourned or rescheduled by the Court upon notice by the

   Special Master. At the Sale Hearing, the Court will consider approval of the Successful Bid(s) (as

   defined below) and Back-up Bid(s), if applicable. Unless the Court orders otherwise, the Sale

   Hearing shall be an evidentiary hearing on matters relating to the applicable Sale Transaction(s)

   and there will be no further bidding at such hearing.

                         3.         Within the period of six (6) months after the date of this Order (the "Six-

   Month Window"), the Special Master and his Advisors shall solicit and attempt to gain clarity or

   guidance from the United States Department of the Treasury's Office of Foreign Assets Control

   ("OF AC") of its support for (or non-opposition to), the launch of the Marketing Process by the

   Special Master, the viability of the Marketing Process, and any additional feedback or guidance

   that the Special Master believes will more likely result in a value-maximizing Sale Transaction.

   During the Six-Month Window, but by no later than the expiration thereof or May 2, 2023

   (whichever comes first), the Special Master shall make a recommendation (such recommendation,

   the "Supplemental Report") to the Court as to whether (and when) the Court should direct the

   Special Master to begin to make preparations for launch of the Marketing Process (the date on

   which preparation for the Marketing Process is launched, the "Preparation Launch Date") and

   the ultimate launch of the Marketing Process (the date on which the Marketing Process is launched,

   the "Launch Date"). The Supplemental Report shall , in the Special Master's sole discretion,

   address significant factors and considerations that the Special Master and his Advisors believe

   relevant to the Court's decision as to when Preparation Launch Date and the Launch Date should

   occur. The Sales Process Parties shall have the opportunity to object to the Special Master's

   recommendations in the Supplemental Report regarding the Preparation Launch Date and the

   Launch Date ("Launch Date Objections"), which Launch Date Objections shall be filed with the


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   Court no later than 15 business days after the Supplemental Report is filed (the "Launch Date

   Obj ection Deadline"). Any response to a Launch Date Objection from the Special Master or a

   Sale Process Party shall be filed no later than 10 business days after the Launch Date Objection

   Deadline. The Court shall consider the Supplemental Report, all Launch Date Objections thereto,

   and any responses , after which the Court shall make a determination regarding when to trigger the

   Preparation Launch Date and subsequent Launch Date with or without a license from OF AC.

                         4.         Prior to the Preparation Launch Date, unless otherwise ordered by the Court,

   the Special Master shall not prepare in a material way for the Marketing Process or take material

   steps toward implementation of the Sale Procedures; provided that, notwithstanding the foregoing ,

   the Special Master shall be authorized to (i) proactively engage with representatives from the

   Executive Branch (as defined below) and to take all steps or actions reasonably in furtherance of

   the issuance of OF AC guidance and/or authorization, including, but not limited to, making market

   inquiries into potential bidders with respect to the impact of OF A C's position (or their lack thereof)

   on their willingness to participate in a sale process that is conditioned on OFAC's final approval

   of any sale transaction ; provided that the Sale Process Parties and their advisors shall be consulted

   as to the identity of, and the scope of inquiry to, any such potential bidders, (ii) proactively engage

   with the Sale Process Parties and their advisors, (iii) prepare for and participate in any discussions

   with the Court and/or any hearing held by the Court, including the Initial Status Conference (as

   defined below), (iv) participate in any settlement discussions with parties regarding a global claims

   waterfall or related issues if so directed by the Court, and (v) direct his Advisors to assist him in

   all actions contemplated in (i) to (iv) of this paragraph 4 and in furtherance of all actions authorized

   or contemplated by this Order. On and after the Preparation Launch Date, the Special Master and

   the Special Master's Advisors are hereby directed to prepare for the Marketing Process and take


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   all such preliminary actions             10   connection therewith, including conducting or performing

   appropriate due diligence and related analysis. Without limiting the foregoing, in preparation for

   the Marketing Process following the Preparation Launch Date, the Special Master shall prepare a

   customary "teaser" and a "confidential information memorandum" ("CIM") to be shared with

   Potential Bidders and such other materials that the Special Master reasonably determines to be

   necessary or appropriate. Subject to the Protective Order, the Special Master shall share a draft of

   the "teaser" and CIM with counsel to the Sale Process Parties no later than seven (7) calendar days

   prior to launch of the Marketing Process and shall consult in good faith with the Sale Process

   Parties regarding the same. Further, the Special Master shall (a) no later than IO business days

   after the Preparation Launch Date, meet and confer with PDVSA regarding any minority

   shareholder rights or other protections that could facilitate a sale of minority shares and (b) as soon

   as reasonably practicable after any Potential Bidder submits a Non-Binding Indication of Interest

   that contemplates the provision of minority shareholder rights and protections. See Bidding

   Procedures at item (iii) on page 4 (requesting Potential Bidders to identify "any minority

   shareholder rights, protections, or other desired terms in co nnection with any bid for less than

   I 00% of the PDVH Shares").

                         5.         Status Conferences. Unless otherwise ordered by the Court, the Court

   shall hold a status conference approximately every thirty days commencing after the Preparation

   Launch Date for the Special Master to provide an update to the Court and other interested parties

   regarding implementation of the Sale Procedures Order; provided that subject to the Court's

   availability, the Special Master or the Sale Process Parties may request that such status conferences

   occur more or less frequently or on an as-needed basis; provided further that nothing shall impede

   the Special Master's right to meet in camera or share information with the Court to provide updates


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   on the sale process. The initial status conference shall be held approximately 30 days after the

   Preparation Launch Date at a date and time to be set by the Court by separate order (the "Initial

   Status Conference"). At the Initial Status Conference, the Special Master shall provide the Court

   and interested parties with an update on his progress and the Special Master's current estimate, if

   any, regarding launch of the Marketing Process. For the avoidance of doubt, the Special Master

   shall not launch the Marketing Process until otherwise ordered by the Court.

                        6.         The Special Master shall deliver a copy of this Order to the United States

   Attorney for the District of Delaware ("USAO"). The Court hereby requests that, upon receipt,

   the USAO take reasonable efforts to ensu re that copies of the Order are received by the pertinent

   offices within the Executive Branch of the United States Government, including the United States

   Department of Justice, Department of State, and Department of the Treasury (including OF AC)

   (collectively, the "Executive Branch"). Consistent with the Court's prior orders, the Court invites

   input from the Executive Branch regarding implementation of this Order and the Bidding

   Procedures at any time and further requests that the representatives from the USAO voluntarily

   provide an update regarding th e Executive Branch's decision-making process related to the

   Marketing Process and consummation of a Sale Transaction, including, but not limited to, whether,

   in a sale process overseen and directed by this Court in connection with the enforcement of the

   judgment(s) of thi s Court, (i) the Special Master, acti ng as an arm of thi s Court, requires an OFAC

   specific license to launch and conduct the Marketing Process; (ii) potential bidders participating

   in any or all aspect of the Marketing Process require an OFAC specific license; or (iii) an order of

   this Court approving the sale, cancellation and rei ssue, or transfer of property subject of its prior

   order, requires a specific OF AC license. If the Special Master determines that it is necessary as a

   precondition to launching the Marketing Process he may request that the Court issue an order for


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   the Executive Branch to show (i) cause as to why the launch and participation of prospective

   bidders in the Marketing Process is not authorized and (ii) the facts and circumstances that would

   be necessary for OF AC to provide approval for any transfer of the PDYH Shares pursuant to the

   process contemplated by these Sale Procedures.

                                               The Bidding Procedures

                        7.        The Sale Procedures, including the Bidding Procedures, substantially in the

   form attached hereto as Exhibit 1, are hereby approved. The Bidding Procedures are incorporated

   herein by reference, and shall govern the bids and proceedings related to any sale of PDYH Shares

   in connection with a Sale Transaction . The failure to specifically include or reference any

   particular provision of the Bidding Procedures in this Order shall not diminish or otherwise impair

   the effectiveness of such procedures, it being the Court's intent that the Bidding Procedures are

   approved in their entirety, as if fully set forth in this Order.

                        8.        The Special Master is authorized and directed to take all reasonable actions

   necessary or desirable to implement this Order, including the Sale Procedures and the Bidding

   Procedures.

                        9.        Subject to the Bidding Procedures and this Order, the Special Master shall

   be authorized, as he may reasonably determine is necessary or desirable, to carry out the Bidding

   Procedures, including, w ithout limitation, to : (a) designate a Stalking Horse Bid, if any, pursuant

   to the Bidding Procedures; (b) determine which bidders are Qualified Bidders; (c) determine which

   bids are Qualified Bids; (d) determine which Qualified Bid is the highest purchase price received

   prior to the Auction ; (e) determine which Qualified Bid is the Successful Bid; (f) reject any bid

   that is (i) inadequate or insufficient, (ii ) not a Qualified Bid or otherwise not in conformity with

   the requirements of the Bidding Procedures, or (iii) not a bid that provides for a value maximizing


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   Sale Transaction; (g) adjourn the Auction and/or the Sale Hearing by filing a notice on the Court's

   docket without need for further notice; and (h) modify the Bidding Procedures upon notice to and

   consultation with the Sale Process Parties in a manner consistent with his duties and

   app licable law.

                         10.       The Special Master shall be authorized to, in his reasonable judgment, upon

   notice to and consultation with the Sale Process Parties, modify the Bidding Procedures, including

   (a) waive terms and conditions with respect to any Potential Bidder, (b) extend the deadlines set

   forth in the Bidding Procedures, (c) announce at the Auction modified or additional procedures for

   conducting the Auction, and (d) provide reasonable accommodations to a Stalking Horse Bidder

   with respect to such tenn s, conditions, and deadlines set forth in the Bidding Procedures to promote

   further bids by bidders, in each case, to the extent not materially inconsistent with the Bidding

   Procedures and this Order; provided that a Sale Process Party may, within five (5) calendar days,

   file an objection to any modification, upon which time the Court shall set a briefing schedule for

   any reply and a hearing, if applicable, to adjudicate such objection.

                         11.       All Potential Bidders submitting bids detem1ined by the Special Master to

   be " Qualified Bids" in accordance with the Bidding Procedures are dee med to have submitted to

   the exclusive jurisdiction of th is Court with respect to all matters related to the Bidding Procedures,

   the Auction, and any Sale Transaction . Except as provided in an executed definitive Stalking

   Horse Agreement, and then subject to the terms thereof, nothing in this Order or the Bidding

   Procedures shall obligate the Special Master to pursue any transaction with a Qualified Bidder.

                         12 .      The Special Master may, in the exercise of his judgment, identify the

   highest Qualified Bid(s) that the Special Master reaso nably believes to be capable of being timely

   consummated after taking into acco unt the factors set forth in the Bidding Procedures as the


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   successful bid(s) (a "Successful Bid" and, the bidder(s) submitting such bid(s), a "Successful

   Bidder"); provided, that if the Special Master receives multiple competing Qualified Bids that

   would satisfy the Attached Judgments in full and which the Special Master reasonably believes to

   be capable of being timely consummated as set forth above, then the Special Master must designate

   such Qualified Bid that (i) satisfies the Attached Judgments and (ii) provides for the sale of the

   fewest PDVH Shares, unless PDVSA consents to the Special Master designating the Qualified Bid

   for more of the PDVH Shares. As soon as reasonably practicable following selection of a

   Successful Bid, the Special Master shall file with the Court a notice containing information about

   the Successful Bidder with the proposed definiti ve agreement attached thereto (without exhibits or

   schedules that the Special Master elects to omit) (the " otice of Successful Bidder").

   Notwithstanding anything to the contrary in this Order (including the Bidding Procedures), the

   Special Master shall not designate a Qualified Bid as the Successful Bid if it provides for the sale

   of more shares than are necessary to satisfy the Attached Judgments; provided that if PDVSA

   informs the Special Master that they wish to sell more of the PDVSA Shares, then the Special

   Master may consider that view.

                         13 .       Upon the selection of a Successful Bidder and as soon as reasonably

   practicable after the Special Master files the Notice of Successful Bidder (and in no event later

   than seven (7) days prior to the Sale Objection Deadline), the Special Master shall file a report

   under seal (and serve a copy to the Sale Process Parties) that provides a summary of the Bids,

   including their cash and non-cash consideration components. Further, if, pursuant to the Bidding

   Procedures, the Special Master, in the exercise of his judgment, does not select a Successful Bid

   following the Bid Deadline, the Special Master shall file a report with the Court under seal (and

   serve a copy to the Sale Process Parties) explaining the basis and rationale for not selecting any of


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   the Bids (if any) as a Successful Bid. In the event the Special Master fails to select a Successful

   Bid, the Sales Process Parties shall have the right to move the Court to select a Successful Bid

   from among those presented to the Special Master. In connection with any of the foregoing reports

   filed under seal, the Special Master shall disclose to the Court (with a copy to the Sale Process

   Parties) a copy of any Bid(s) received that were not se lected by the Special Master as a Successful

   Bid. Any unsealed version of such reports or Bids filed on the Court's docket shall retain

   redactions to the names of any bidders or other identifying information and any other redactions

   to be determined by the Special Master.

                          14.        For the avoidance of doubt, subject to approval of any Sale Transaction by

   the Court, the Special Master shall have authority to select a Qualified Bid as the Successful Bid

   that provides for a transfer of PDVH Shares free and clear of any claims, encumbrances, and

   liabilities, which, for the avoidance of doubt, upon entry of an order by this Court approving any

   Sale Transaction and upon the consummation of any such Sale Transaction, may constitute a full

   and complete general assignment, conveyance, and transfer of all of PDVSA's or any other

   person's right, title, and interest in the PDVH Shares and may provide for the valid transfer under

   applicable law of good and marketable title to th e PDVH Shares to the Successful Bidder free and

   clear of all claims, encumbrances, and liabilities; provided that such transfer shall be without

   prejudice to any such claims, encumbrances, and liabilities attach ing to the proceeds of any Sale

   Transaction with the same nature, validity, priority, extent, perfection, and force and effect that

   such claims, encumbrances, and liabilities encumbered the PDVH Shares immediately prior to the

   consummation of any Sale Transaction.

                          15 .       The Sale Notice, substa ntiall y in the form attached hereto as Exhibit 2, is

   approved, and no other or further notice of the Sale Transaction, the Auction, the Sale Hearing or


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   the Sale Objection Deadline shall be required if the Special Master publishes such notice in

   accordance with the Notice Procedures. The Sale Notice and publication thereof complies in all

   respects with and satisfies the requirements of Section 324 of the Delaware General Corporation

   Law. The Special Master may file on the Court's docket, publish , or otherwise distribute any

   supplemental notice that he, in his sole discretion, deems appropriate or desirable; provided that

   no such supplemental notice shall be required. All expenses and fees related to implementation of

   the Marketing Process and Notice Procedures shall constitute "Transaction Expenses" and shall

   be payable by the Sale Process Parties and holders of any Additional Judgments (as defined below)

   (the "Additional Judgment Creditors"). The Special Master may request that the Sale Process

   Parties and any Additional Judgment Creditors, collectively, reimburse the Special Master in

   advance in an amount equal to the amount of any quote received in connection with publication

   required by the Notice Procedures and, upon any such request, the Sale Process Parties shall each

   promptly pay their respective share; provided that, in the event any Additional Judgment Creditor

   becomes obligated to pay a portion of the Transaction Expenses pursuant to this Order, the Special

   Master shall meet and confer with the Sale Process Parties to determine such Additional Judgment

   Creditor's share of the reimbursement obligation.

                                            Objections to Sale Transaction

                         16.       The deadline to object to any Sale Transaction to be approved at the Sale

   Hearing wi ll be 4:00 p.m. (prevailing eastern time) on the fourteenth day after the Special

   Master files the Notice of Successful Bid (the "Sale Objection Deadline," and any such

   objection, a "Sale Objection"); provided that, the Special Master may extend such deadline, as

   the Special Master deems appropriate in the exercise of his reasonable judgment. If a timely Sale

   Objection cannot otherwise be resolved by the parties, such objection shall be heard by the Court


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   at the Sale Hearing. The Notice of Successful Bid shal l state the specific date and time of the Sale

   Objection Deadline.

                         17.       The Successful Bidder(s) shall appear at the Sale Hearing and be prepared,

   if necessary, to have a representative(s) testify in support of the Successful Bid and the Successful

   Bidder's ability to close the Sale Transaction contemplated therein in a timely manner.

                         18.       Any party who fails to timely file with the Court and serve a Sale Obj ection

   (including any Sale Process Party) on the Special Master may be forever barred from asserting any

   Sale Objection to the applicable sale, or to the consummation of any Sale Transaction.

                         19.       For the avo idance of doubt, the Sale Process Parties shall have the

   opportunity to object to the Special Master's recommendation as to whi ch bid is best and whether

   the Court should accept or reject such bid. Upon hearing all Sale Obj ections, the Court will make

   the final decision as to whether to accept or reject any bid . Nothing in this Order shall affect the

   ri ghts of any party to appeal such a decision by the Court.

                                         Desi2nation of Stalkin2 Horse Bidder

                        20.        Selection of Stalkin2 Horse Bidder. The Special Master is authorized to,

   in the exerci se of hi s judgment and at his so le discretion, designate a Stalking Horse Bidder for the

   PDVH Shares and following such designation, subject to approval by the Court, enter into a

   Stalking Horse Agreement for the sale of any such PDVH Shares, in accordance with the terms of

   this Order and the Bidding Procedures.

                        21.        Stalkin2 Horse Bid Protections. Subject to the Bidding Procedures and

   approval by this Co urt, the Special Master may: (a) establish an initial overbid minimum and

   subsequent bidding increment requirements not to exceed 5.00% of the Stalking Horse Bid Implied

   Value, subject to adjustment for any Bids for a lesser percentage of the PDVH Shares than the

   Stalking Horse Bid (the "Initial Minimum Overbid Amount") ; (b) offer any Stalking Horse
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   Bidder a break-up fee in an amount agreed to by the Special Master in consultation with the Sale

   Process Parties, but not to exceed 3.00% of the Stalking Horse Bid Implied Value (a "Termination

   Payment") payable either (i) in the event that an overbid is consummated, out of the proceeds

   from the consummation of such overbid or (ii) by PDVH, CITGO Holding, Inc. ("CITGO

   Holding," and collectively with CITGO Petroleum, "CITGO") and CITGO Petroleum in

   circumstances where any of PDVH, CITGO Holding, and/or CITGO Petroleum is materially

   responsible for the events that give rise to termination of the Stalking Horse Agreement; ( c)

   provide that, if the Stalking Horse Bidder bids on PDVH Shares at the Auction, the Stalking Horse

   Bidder will be entitled to a credit up to the amount of its Termination Payment against the increased

   purchase price for the PDVH Shares; ( d) provide for the reimbursement of reasonable and

   documented fees and expenses actually incurred by the Stalking Horse Bidder by PDVH, CITGO

   Holding and CITGO Petroleum solely under certain circumstances in which the transactions

   contemplated by the Stalking Horse Agreement are not consummated; (e) provide that any sale

   order shall seek to transfer the PDVH Shares free and clear of any claims upon them; and (f) in

   consultation with the Sale Process Parties, provide other appropriate and customary protections to

   a Stalking Horse Bidder (the Termination Payment and the other bid protections described in this

   paragraph collectively are referred to as the "Stalking Horse Bid Protections"). The Special

   Master is authori zed to offer the Stalking Horse Bid Protections at his sole discretion if he

   determines that such Stalking Horse Bid Protections would be in furtherance of a value

   maximizing transaction; provided that, (a) absent further order of the Court, the Special Master

   shall not enter into a Stalking Horse Agreement and (b) any Stalking Horse Bid Protections offered

   shall not be effective until entry by the Court of an order approving such Stalking Horse Bid

   Protections and subsequent execution by the Special Master of the Stalking Horse Agreement.


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                        22.       To the extent the Special Master designates a Stalking Horse Bidder with

   respect to any Sale Transaction, the Special Master shall , as soon as reasonably practicable

   following the execution of a Stalking Horse Agreement, file with the Court a notice containing

   information about the Stalking Horse Bidder with the proposed Stalking Horse Agreement

   attached thereto (without exhibits or sc hedules that the Special Master elects to omit) (the "Notice

   of Stalking Horse Bidder"). Any Stalking Horse Bid Protections shall be described in reasonable

   detail , including the amount and calculation of such Stalking Horse Bid Protections and the amount

   of the Stalking Horse Bid Implied Value, in the Notice of Stalking Horse Bidder.

   Contemporaneously with the filing of the Notice of Stalking Horse Bidder, the Special Master

   shall file a proposed order approving the Special Master's entry into the Stalking

   Horse Agreement.

                        23.       Objections to the Special Master' s entry into a Stalking Horse Agreement,

   including any provision of Stalking Horse Bid Protections in connection therewith (each

   a "Stalking Horse Obj ection"), must be in writing, state with particularity the basis and nature of

   any objection, and be fil ed with the Court no later than 10 calendar days after the filing of the

   Notice of Stalking Horse Bidder (the "Stalking Horse Objection Deadline"), upon which time

   the Court shall set a briefing schedule for any reply and a hearing, if applicable, to adjudicate

   such objection .

                        24.       If a timely Stalking Horse Objection is filed and served with respect to a

   Stalking Horse Agreement, the proposed Stalking Horse Bid Protections provided for under that

   agreement shall not be approved until the objection is resolved by agreement of the objecting party

   or by entry of an order by the Court resolving such objection.              If no timely Stalking Horse

   Objection is filed and served with respect to a particular Stalking Horse Agreement, then the Court


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   may enter an Order approving the Stalking Horse Bid Protections provided for under such

   agreement upon the expiration of the Stalking Horse Objection Deadline.

                         25.        For all purposes under the Bidding Procedures, any Stalking Horse Bidder

   approved as such pursuant to this Order shall be considered a Qualified Bidder, and the Stalking

   Horse Bid shall be considered a Qualified Bid. In the event that the Stalking Horse Bid is the only

   Qualified Bid received by the Special Master by the Bid Deadline, the Stalking Horse Bidder shall

   be deemed the Successful Bidder with respect to the assets set forth in the Stalking

   Horse Agreement.

                                                       Credit Bids

                         26.        Crystallex, and any other holder of an Attached Judgment, may submit a

   "credit bid" pursuant to the Bidding Procedures (eac h, a "Credit Bid") ; provided that such Credit

   Bid shall comply with the Bidding Procedures, including the requirement that any credit bid

   include a cash component or other funding mec hani sm sufficient to pay (or otherwise contemplate

   payment in full in cash in a manner acceptable to the Special Master; provided, that, with respect

   to any reimbursement of Transaction Expenses owed to a Sale Process Party pursuant to the May

   Order, such Sale Process Party's consent shall be required if such Sale Process Party is not to be

   reimbursed in cash) (a) any applicable Termination Payment, (b) all Transaction Expenses, and

   (c) all obligations secured by senior liens on the PDVH Shares (if any). If any Credit Bidder

   withdraws its Credit Bid or in any other way fails to consummate its Credit Bid in a manner that

   would cause any other Bidder to lose its Good Faith Deposit, then the lesser of ten percent ( I 0%)

   of the portion of the judgment that was Credit Bid or $50 million of the judgment shall be forever

   waived and the Court shall enter an order reducing the judgment in accordance therewith, provided

   however that no such forfeiture shall occur if the reason for the withdrawal or failure to

   consummate the Credit Bid is a settlement or other satisfaction of the judgment. For the avoidance
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   of doubt, a Credit Bid must be submitted by the deadlines set forth in the Bidding Procedures

   applicable to all other Bids.

                        27 .       Except as otherwise agreed by the Special Master, in connection with the

   submi ssion of any Cred it Bid (including a Credit Bid by Crystall ex), any party seeking to submit

   a Credit Bid shall cause two of its representatives to each submit a sworn statement and affidavit

   that unequivocally and unconditionall y states (a) the then outstanding and unpaid amount of such

   party's judgment as of the date the Credit Bid is submitted and (b) that such representative submits

   to the personal jurisdiction of this Court in connection with making such statement and affidavit.

   Except as otherwise agreed by the Special Master, in connection with the consummation of any

   Credit Bid that becomes the Successful Bid, the same two representatives shall each submit a

   supplemental statement and affidavit stati ng that all payments or consideration received by the

   person or entity in connection with or in respect of the app licable judgment that served as the basis

   for the Credit Bid have been disclosed to the Court and the Special Master.

                        28 .       Any person or entity that submits a Credit Bid shall promptly (but in no

   event later than within 2 business days) notify the Special Master if such person or entity recei ves

   (or otherwise becomes entitled to receive) any payment or consideration in connection with or in

   respect of the judgment that served as the basis for the Credit Bid .

                                                 Attached Jud2ments

                        29.        Satisfaction of All Attached Judgments. Nothing in this Order prohibits

   or in any way impairs the rights of the Venezuela Parties to satisfy Crystallex's Judgment (or any

   other Attached Judgment) in full prior to consummation of a Sale Transaction. If at any time all

   Attached Judgments become satisfied in full (or otherwise are consensually resolved) , then the

   Special Master shall cease implementation of the Sale Procedures and seek further direction from

   the Court. The Sale Process Parties an d any Additional Judgment Creditors shall remain liable for
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   any Transaction Expenses incurred through the date that is two business days after the Special

   Master receives notice of satisfaction of all Attached Judgments. In the event that the Special

   Master selects a Successful Bid, the va lue of which implies satisfaction of less than all Attached

   Judgments, then any holder of an Attached Judgment that receives no proceeds in satisfaction of

   any part of their Attached Judgment shall be excused from contributing to the payment of any

   Transaction Expenses incurred after the date thereof. The Sale Process Parties shall be reimbursed

   for any paid Transaction Expenses as set forth in the May Order; provided that if the process is

   terminated due to satisfaction or resolution of all Attached Judgments by the Venezuela Parties,

   then, solely in such circumstance (and unless otherwise agreed to by Crystallex and

   ConocoPhillips), the Venezuela Parties sha ll pay and reimburse Crystallex and ConocoPhillips for

   the full amount of all Transaction Expenses paid by Crystallex and ConocoPhillips.

                         30.        Additional Judgment Deadline. By no later than ten calendar days after

   the Launch Date (the "Additional Judgment Deadline"), the Court will decide in accordance with

   applicable law which, if any, additional judgments (the "Additional Judgments ," and with the

   Crystallex Judgment, the "Attached Judgments") are to be considered by the Special Master for

   purposes of the Sale Transaction . Except as otherwise ordered by the Court, following the

   Additional Judgment Deadline, the Special Master shall implement the Sale Procedures, based on

   the Attached Judgments as of the Additional Judgment Deadline. For purposes of implementing

   this Order, the Special Master shall only consider judgments that are determined to be Attached

   Judgments by the Court by the Additional Judgment Deadline. For the avoidance of doubt, unless

   otherwise ordered by the Court, (i) the Additional Judgment Deadline does not impair or in any

   way limit any person 's or entity's right to seek attachment to any proceeds following

   consummation of the Sale Transaction and (ii) no PDVH Shares shall be so ld, nor proceeds from


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   any sale thereof distributed, to satisfy any judgments that are not Attached Judgments.              If

   ConocoPhillips' Judgment is not made an Attached Judgment following the Additional Judgment

   Deadline or the Launch Date, whichever is earlier, ConocoPhillips shall be excused from

   contributing to the payment of any Transaction Expenses incurred thereafter, provided that should

   ConocoPhillips decline to contribute to the funding of the sale process it shall no longer be treated

   as a Sale Process Party for purposes of this Order. ConocoPhillips' excuse from further funding

   obligations shall not affect its entitlement to reimbursement for all payments previously advanced,

   as provided in the May Order.

                        31.       Final Calculation of Attached Judgments.       Thirty days prior to the

   designation of a Stalking Horse Bidder, the Special Master will file under seal a notice or

   recommendation with the Court seeking final determination of any Attached Judgment, including

   the rate at which interest continues to accrue and serve such notice or recommendation on the

   holder of the Attached Judgment and the Sale Process Parties. No later than seven calendar days

   after service, the holder of the Attached Judgment and the Sale Process Parties shall file any

   objection to the Special Master's notice or recommendation. If no objection is filed, the amount

   set forth in the Special Master's notice or recommendation shall become the amount of the

   Attached Judgment for purposes of the Sale Procedures. If an objection is filed, a hearing will be

   scheduled and the Court shall determine the amount of the Attached Judgment.

                       32.        By no later than 21 calendar days following the Preparation Launch Date,

   any holder of an Attached Judgment or holder of a judgment seeking to be an Attached Judgment

   shall deliver to the Special Master and to counsel for the Venezuela Parties a statement indicating

   the amount such creditor contends remains outstanding with respect to their Attached Judgment or

   judgment. Such creditor shall provide reasonably sufficient supporting documentation regarding


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   any alleged outstanding balance and all amounts and assets received by reason of the Attached

   Judgment or judgment and any other information pertinent to understanding the outstanding

   balance of the applicable Attached Judgment or judgment.

                                Amendments & Additional Powers of the Special Master

                         33 .       Additional Guidance from the Court. If the Special Master, in his sole

   discretion, but after consultation with the Sale Process Parties, determines that (a) a material

   modification or amendment of this Order or the Sale Procedures (including the Bidding

   Procedures) that is not otherwise permitted (each a "Proposed Amendment") or (b) additional

   powers or guidance from the Court, is reasonably necessary or desirable for any reason, including

   to (i) ensure a value maximizing sale process or (ii) effectuate a value maximizing sale process

   through a Sale Transaction, the Special Master may seek such Proposed Amendment or additional

   powers or guidance, as applicable, by filing a request or recommendation with the Court with

   notice to the Sale Process Parties .

                         34.        Requests of the Special Master. ln addition to the cooperation provisions

   in the May Order, the Sale Process Parties, including CITGO and PDVH, and each of their

   subsidiaries, including their directors, officers, managers, employees, agents, and advisors, shall

   promptly cooperate and comply with the requests of the Special Master. If the Special Master

   specifically invokes this paragraph 34 in connection with any such request, then the person or

   entity that is the subject or recipient of such request shall comply no later than five (5) business

   days after the date upon which the request was made, unless the Special Master sets a different

   deadline for which a response is due. If any person obj ects to a request by the Special Master that

   specifically invokes this paragraph 34, including objections based on a belief that such request is

   unreasonable, such person shall file a motion with the Court seeking relief from the Special

   Master's request. Absent a motion seeking relief from th e Court, the Special Master may (but
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   shall have no obligation to) explain the basis of his request to the subject or recipient; provided

   that, if requested by the subject or recipient, the Special Master shall meet and confer with such

   person at least one business day before such person's deadline to file a motion seeking relief from

   the Special Master's request. The Special Master may, in his sole discretion, recommend to the

   Court appropriate sanctions with respect to any person or entity that fails to promptly comply with

   a request absent a timely request for relief from the Court. For the avoidance of doubt, the terms

   of this paragraph are in addition to the terms of the May Order; provided that the scope of the May

   Order shall in no way be read to limit the effect of this paragraph .

                         35.        CITGO Management Team . Without limiting paragraph 34, if requested

   by the Special Master, CITGO shall use reasonable efforts to make members of the CITGO

   management team available for meetings with bidders or potential bidders, which may include, in

   the Special Master's sole discretion, the most senior members of the CITGO management team.

   CITGO shall further use reasonable efforts to timely respond to the Special Master's diligence

   requests or bidder-specific questions, including, if applicable, by providing accurate and complete

   due diligence materials, documentation, and backup support requested by the Special Master.

                         36.        Additional Powers of the Special Master. Tn addition to the duties and

   powers set forth in this Order, the Special Master shall have all of the powers and duties set forth

   in prior orders of the Court, including the May Order. Without limiting the foregoing, the Special

   Master may issue, without limitation, orders, subpoenas and interrogatories to any person in the

   course of performing his duties . Further, the Special Master may, in his sole discretion and

   consistent with Rule 53 of the Federal Rules, issue orders to compel delivery of information from

   any person or entity in connection with implementing the Sale Procedures, including to ensure a

   comprehensive and va lue-max imizing sale process, to ensure that property that is directly or


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   indirectly the subject of this Order is not transferred or otherwise encumbered by the Venezuela

   Parties or to determine the amount of claims against the Venezuela Parties. Following consultation

   with the Sale Process Parties, the Special Master may by order impose on a party any non-contempt

   sanction provided by Rul e 37 or Rul e 45 of the Federal Rules, and may recommend a contempt

   sanction against a party and sanctions against a nonparty, consistent with Rule 53(c) of the

   Federal Rul es.

                                                     Additional Provisions

                           37.         Rosneft Trading S.A. The Consent Order Regarding Disclosure by

   Rosneft Trading SA . and Petr6leos de Venezuela, SA. Regarding CITGO Holding Pledge

   (D.1. 396) (the "Rosneft Consent Order") is incorporated herein by reference as if fully set

   forth herein .

                           38.         Dispute Resolution . All bidders that participate in the sa le and bidding

   process shall be deemed to have (a) consented to the jurisdiction of the Court to enter any order or

   orders, which shall be binding in all respects, in any way related to the Sale Procedures or Bidding

   Procedures, the bid process, the Auction, the Sale Hearing, or the construction, interpretation, and

   enforcement of any agreement or any other document relating to a Sale Transaction; (b) waived

   any right to a jury trial in connection with any disputes relating to the Sale Procedures or Bidding

   Procedures, the bid process, the Auction, the Sale Hearing, or the construction, interpretation, and

   enforcement of any agreement or any other document relating to a Sale Transaction; and

   (c) consented to the entry of a fina l order or judgment in any way related to the Sale Procedures or

   Bidding Procedures, the bid process, the Auction, the Sale Hearing, or the construction,

   interpretation , and enforcement of any agreement or any other document relating to a Sale

   Transaction if it is determined that the Court would lack jurisdiction to enter such a final order or

   judgment absent the consent of the parties .
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                        39.       Communications & Negotiations with Third Parties.         The Special

   Master is authorized and empowered, in his sole discretion and at any time, to communicate and,

   as applicable, negotiate with any bidder, potential bidder, or governmental or regulatory body.

   Further, in consultation with the Sale Process Parties, the Special Master is authorized and

   empowered, in his sole discretion and at any time, to communicate and, as applicable, negotiate

   with any other person or entity, including any contract counterparty, any indenture trustee,

   administrative agent, or collateral agent, any holders of that certain series of bonds issued by

   PDVSA due in 2020 (the "PDVSA 2020 Bondholders") or other person related to PDVH,

   CITGO, and their affiliates to the extent reasonably necessary or desirable in connection with

   preparation of the Supplemental Report and implementation of the Sale Procedures and any Sale

   Transaction. If the Special Master determines it is reasonably necessary or desirable to negotiate

   a change, modification, or amendment to, or seek a consent or waiver under, any contract of

   PDVH, CITGO, or any of their subsidiaries in connection with any Bid or Potential Bid or

   implementation of the Sale Procedures or any Sale Transaction, including with respect to any

   "change-of-control" provisions in any contract, the Special Master shall work with PDVH and

   CITGO, as applicable, to negotiate such change, modification, amendment, consent, or waiver.

   If either PDVH or CITGO, as applicable, do not cooperate with or otherwise consent to any

   particular negotiation, change, modification, am endment, consent, or waiver, the Special Master

   shall seek additional guidance from the Court and shall not proceed absent further order from

   the Court.

                       40.        Communications with Potential Bidders. The Sale Process Parties (other

   than the Venezuela Parties) shall not, directly or indirectly, contact or otherwise communicate with

   any Potential Bidders regarding this Order, the Sale Procedures, any bid or potential bid, or any


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   Sale Transaction, other than as expressly permitted in writing by the Special Master or otherwise

   authorized by this Court. Subject in all cases to the Special Master Confidentiality Order (D.I.

   291) (the "Protective Order"), nothing herein restricts the Venezuela Parties' ability to

   communicate with Potential Bidders or any other third-party, including by placing public

   advertisements regarding the Marketing Process and the Sale Transaction, provided that (a) the

   Venezuela Parties shall not disclose any nonpublic terms regarding the Bids of any Potential

   Bidder that the Venezuela Parties have learned as a Consultation Party or by any other means,

   (b) the Venezuela Parties shall provide the Special Master and his Advisors with advance notice

   prior to engaging in any form of communication with Potential Bidders, and (c) any information

   provided to the Potential Bidders by the Venezuela Parties shall be made available to the Special

   Master and all other Potential Bidders. If the Venezuela Parties communicate with any Potential

   Bidders, the Special Master may (in his sole discretion) disclose the identity of such Potential

   Bidders to the Sale Process Parties. If, during the course of implementing this Order, the Special

   Master believes that any of the Venezuela Parties is communicating with Potential Bidders in a

   manner that will impair or inhibit the ability of the Special Master to obtain value-maximizing

   Bids, the Special Master may inform the Court and the Court wi ll consider appropriate

   amendments to this Order. For the avoidance of doubt, this paragraph 40 does not prevent or

   prohibit contact or communications in the ordinary course of business consistent with past practice

   on matters unrelated to this Order, the Sale Procedures, any bid or potential bid, or any

   Sale Transaction.

                       41.        The Sale Process Parties may propose a list of Potential Bidders for the

   Special Master to solicit Bids from in connection with the Marketing Process and the Special

   Master shall consider in good faith inclusion of such Potential Bidders. If the Special Master elects


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   to exclude or declines to solicit a Bid from a Potential Bidder identified by a Sale Process Party,

   the Special Master shall notify the applicable Sale Process Party of such decision as soon as

   reasonably practicable thereafter and, if appropriate, explain his rationale for the decision. If the

   applicable Sale Process Party reasonably believes that the Special Master inappropriately or

   unfairly excluded or declined to solicit a Bid from a Potential Bidder identified by such Sale

   Process Party, then such Sale Process Party shall file a letter that shall not exceed three pages with

   the Court and serve such letter on the Special Master and the other Sale Process Parties. The

   Special Master shall have two business days following service to respond by letter not to exceed

   three pages. After considering the parties' submissions, the Court will issue an appropriate order.

                           42.        Communications among Sale Process Parties. Subject in all cases to the

   Special Master Confidentiality Order (D.I. 291) (the "Protective Order"), nothing in this Order

   prohibits the Sale Process Parties from communicating with each other; provided that such

   communications do not involve or relate to colluding in connection with a Bid that has been

   submitted or may be submitted by the applicable Sale Process Party or a Bid by any Potential

   Bidder. For the avoidance of doubt, this provision is not intended to limit in any way the ability

   of some or all of the Sale Process Parties to discuss settlement or satisfaction of any Attached

   Judgment or to discuss the terms, content, or grounds of any potential objection to be filed with

   the Court. The Special Master shall consult with the Sale Process Parties periodically and as

   appropriate in implementing the Sale Procedures .

                           43 .       Sharing of Information with Potential Bidders. Upon giving notice to

   the applicable Sale Process Party, the Special Master shall be permitted, in his sole discretion, to

   share any and all information obtained related to the Sale Process Parties, regardless of whether

   marked or designated "confidential" or "highly confidential" pursuant to the Protective Order, with


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   any bidder or potential bidder that has entered into a confidentiality arrangement in the form

   attached hereto as Exhibit 4 (the "Confidentiali ty Agreement") ; provided that the Special Master

   shall be authorized to make reasonable changes to the extent requested by a Potential Bidder. The

   Special Master shall file each executed Confidentiality Agreement under seal with the Court and

   shall provide notice of execution of such Confidentiality Agreement to the Sale Process Parties.

   The Special Master shal l exercise reasonable care in providing confidential information to bidders

   and Potential Bidders and, if applicable, shall use reasonable efforts to consult any Sale Process

   Party that marks or designates any information as "confidential" or "highly confidential" prior to

   its disclosure to any Potential Bidder. The Special Master shall use reasonable efforts to consult

   PDVH and CITGO in connection with sharing competitively sensitive information and, if

   determined to be appropriate by the Special Master, to establish firewall protections or "clean

   team" protocols with respect to any Potential Bidder that is a competitor, customer or supplier or

   under such other circumstances as the Special Master determines to be appropriate.

   Notwithstanding the foregoing, solely with respect to information designated as "highly

   confidential" by ConocoPhillips, unless the Court orders otherwise, the Special Master shall seek

   the reasonab le consent of ConocoPhillips, which consent shall not be unreasonably withheld, prior

   to disclosing any such information to any Potential Bidder. Notwithstanding the foregoing, unless

   otherwise ordered by the Court, the Special Master shall not disclose to any Potential Bidders the

   limited set of documents that the Special Master and the Venezuela Parties have agreed in writing

   (email shall suffice) shall not be disclosable pursuant to this paragraph 43.

                          44.        Sharing of Info rmation with the United States. The Special Master shall

   be authorized to share with the United States information obtained related to the Sale Process

   Parties and any bidder or potential bidder that the Special Master determines, in his sole discretion,


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   is reasonably necessary or desirable in connection with the issuance of any regulatory approval or

   is reasonably necessary or desirable in connection with implementation of the Sale Procedures and

   any Sale Transaction, including any guidance or license from OFAC, provided that the Special

   Master shall request confidential treatment of information shared with the United States that has

   been designated as confidential or highly confidential by a Sale Process Party.

                         45.        Engagement of Advisors . The Special Master has retained, as approved

   by the May Order and as affirmed by this Order, the Advisors. The Special Master's engagement

   of Evercore, pursuant to the Proposed Evercore Engagement Letter, is hereby approved and the

   terms of the Engagement Letter in all respects shall be binding on the Special Master, including

   with respect to payment of the Upfront Amount of the Sale Fee by the Sale Process Parties . Any

   amounts owed to Evercore under the Proposed Evercore Engagement Letter shall be payable to

   Evercore pursuant to the terms of the May Order, including the Sale Fee and the Upfront Amount

   of the Sale Fee; provided that in no circumstance absent further order of the Court, shall any Sale

   Fee (other than the Upfront Amount) be payable directly by the Sale Process Parties and any such

   amount shall , in each circumstance, be payable out of any proceeds or other cash consideration

   provided in connection with a Sale Transaction after the Sale Process Parties have been reimbursed

   pursuant to the terms of the May Order.

                         46.        Judicial Immunity & Exculpation.    The Special Master is entitled to

   judicial immunity in performing his duties pursuant to this Order, including all actions taken to

   implement the Sale Procedures, and all other orders of the Court. The Special Master' s Advisors

   are entitled to judicial immunity in connection with all actions taken at the direction of, on behalf

   of, or otherwise in connection with representation of or advi sing the Special Master. No person or

   entity shall be permitted to pursue any cause of action or commence or prosecute any suit or


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   proceeding against the Special Master or the Advisors, or their respective employees, officers,

   directors, attorneys, auditors, representatives, agents, successors or assigns, for any reason

   whatsoever relating to the Crystallex Case, implementation of the Sale Procedures, or in

   connection with any Sale Transaction, or the performance of the Special Master's and his

   Advisors' duties pursuant to this Order or any other orders of the Court, or any act or omission by

   the Special Master or any Advisor in connection with the foregoing. All interested persons and

   entities, including but not limited to the Sale Process Parties, any purchaser or prospective

   purchaser of the PDVH Shares, and all persons acting in concert with them, are hereby enjoined

   and restrained from pursuing any such cause of action or commencing any such action or

   proceeding. If any person or entity attempts to pursue any such cause of action or commence any

   suit or proceeding against the Special Master or any of the Advisors with knowledge of this Order

   (or continues to pursue or prosecute any cause of action, suit or proceeding after having received

   notice of this Order), the Court shall issue an order to show cause to such person or entity and a

   hearing will be scheduled to consider appropriate relief, which may include payment of fees and

   expenses incurred by the Special Master or any of the Advisors in connection therewith. To the

   maximum extent permitted by applicable law, neither the Special Master nor his Advisors nor their

   respective employees, officers, directors, attorneys, auditors, representatives, agents, successors

   and assigns will have or incur, and are hereby released and exculpated from, any claim, obligation,

   suit, judgment, damage, demand, debt, right, cause of action, remedy, loss, and liability for any

   claim in connection with or arising out of all actions taken to implement the Marketing Process,

   Sale Procedures, Bidding Procedures, or Sale Transaction, or the performance of the Special

   Master' s and his Advisors' duties pursuant to this Order and all other orders of the Court.




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                          47 .       Payment of Transaction Expenses .       The Special Master shall be

   compensated and reimbursed for all expenses (including fees and expenses of his Advisors) on a

   monthly basis by the Sale Process Parties pursuant to the procedures set forth in the May Order

   (collectively, such compensation and expenses, the "Transaction Expenses"), which Transaction

   Expenses shall be shared by the Sale Process Parties and any Additional Judgment Creditors,

   pursuant to this Order; provided that the Special Master shall have the discretion to seek from the

   Court authorization to reallocate payment of any Transaction Expenses if the circumstances

   require (e.g., if any single Sale Process Party generates an inordinate number of disputes or if a

   Sale Process Party 's position in a dispute is found to be unreasonable);provided,further, that any

   Additional Judgment Creditor shall be obligated to reimburse its share of the Transaction Expenses

   pursuant to the May Order (as if such Additional Judgment Creditor were a Sale Process Party)

   and this Order (for purposes of detem1ining such Additional Judgment Creditor's share of the

   reimbursement obligation) . The Special Master shall comply with the procedures established

   pursuant to the Court's Memorandum Order (D.I. 338) and any subsequent order of the Court

   regarding the provision of a budget to the Sale Process Parties.

                          48 .       Location of PDVH Shares. By no later than 30 ca lendar days after entry

   of this Order, the Venezuela Parties, including PDVSA, shall inform the Special Master as to the

   specific and precise physical location of the PDVH Shares held by PDVSA or any other facts

   relevant for determining the physical location of the PDVH Shares held by PDVSA and the

   custodian of the shares. If the applicable Venezuela Party is unaware of the location of the PDVH

   Shares, such party shall inform the Special Master as such in writing. If at any point thereafter the

   app licable Venezuela Party becomes aware of any change in circumstance regarding the location

   of the PDVH Shares, then such party shall update the Special Master in writing.


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                        49.        If the location of the PDVH Shares cannot be located with reasonable

   precision or if the Special Master reasonably determines that the custodian of the PDVH Shares is

   unlikely to cooperate in connection with an order compelling the person or entity to transfer the

   PDVH Shares in connection with any Sale Transaction, the Special Master shall file a

   recommendation with the Court in advance of the Sale Hearing regarding the appropriate steps to

   be taken to ensure that the Successful Bidder is able to actua lly purchase the applicable PDVH

   Shares in connection with the applicable Sale Transaction. The Special Master's recommendation

   may include, if appropriate, an order compelling PDVH to issue new certificates or uncertificated

   shares to the applicable Successful Bidder and cancel the registration of the shares attached to the

   books of PDVH.

                        50.        Delaware Code, Title 10, Section 5072. For the avoidance of doubt, the

   5-year period for execution upon a judgment in a civil action set forth in 10 Del C. § 5072 is

   satisfied or otherwise tolled with respect to the PDVH Shares.

                        51 .       Other Provisions . All provisions of the May Order shall remain in full

   force and effect, except for any that directly and irreconcilably conflict with an express provision

   of this Order; provided that nothing in the May Order shall in any way be used to limit the scope

   of the terms and provisions of this Order.

                        52.        The Special Master is authorized to make non-substantive changes to the

   Bidding Procedures, the Sale Notice, and any related documents without further order of the Court,

   including, without limitation, changes to correct typographical and grammatical errors.

                        53 .       The terms and conditions of this Order shall be immediately effective and

   enforceable upon its entry.




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                        54.       In addition to and without limiting any of the provisions set forth herein, the

   Special Master is authorized to take all reasonable steps necessary or appropriate to carry out this

   Order.

                        55 .      This Court shall retain jurisdiction to hear and determine all matters arising

   from or related to the implementation, interpretation, or enforcement of this Order.



   Dated:      t) l,, 1ts ~ct, r 7 2022
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                Wilmington, Delaware


                                                         HONORAB E LEONARD P. STARK
                                                         UNITED STATES DfS'fR:f€T JUDGE
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